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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION

JAMES HAYDEN,                                  )   CASE NO. 1:17-cv-02635-CAB
                                               )
                          Plaintiff,           )   JUDGE CHRISTOPHER A. BOYKO
                                               )
       v.                                      )
                                               )   ORDER GRANTING UNOPPOSED
2K GAMES, INC., et al.,                        )   MOTION TO RESCHEDULE THE
                                               )   FINAL PRE-TRIAL AND THE
                          Defendants.          )   ATTORNEY STATUS CONFERENCE
                                               )



       Before the Court is Take-Two Interactive Software, Inc. and 2K Games, Inc.’s unopposed

Motion to reschedule the Final Pre-Trial from May 16, 2023 at 2:00 pm ET, to May 2, 2023 at a

time that works for the Court, and to reschedule the in-person Attorney Status Conference from

April 3, 2023 at 2:00 pm ET, to March 30, 2023 at a time that works for the Court. After careful

consideration, the Court concludes that the Motion should be, and hereby is GRANTED.

       It is therefore ORDERED that the Final Pre-Trial is rescheduled for May 2, 2023 at

_______, and the in-person Attorney Status Conference is rescheduled for March 30, 2023 at

_______.




Dated: 2/16/2023
                                                     HON. CHRISTOPHER A. BOYKO
                                                      United States District Court Judge
